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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 WP COMPANY LLC,

                Plaintiff,

        v.
                                                          Civil Action No. 23-3333 (TJK)
 DEFENSE COUNTERINTELLIGENCE AND
 SECURITY AGENCY,

                Defendant.


                                  JOINT STATUS REPORT

       Pursuant to the Court’s Minute Order of March 20, 2024, the parties, by and through

respective undersigned counsel, report to the Court as follows.

       1.      This lawsuit involves an August 8, 2023, Freedom of Information Act (“FOIA”)

request directed to Defendant seeking documents relating to a background investigation.

       2.      Plaintiff filed suit on November 7, 2023, to compel the production of responsive

records. Defendant filed its Answer on December 14, 2023.

       3.      As previously reported, Defendant completed its initial search and collection of

potentially responsive records and identified approximately 150 pages.

       4.      After processing, Defendant has determined that all of the records are subject to

exemptions, as Plaintiff was previously informed, and that no records will be released.

       5.      Plaintiff has now evaluated this response, and the parties agree that the next step

is to proceed to summary judgment.
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       6.      Accordingly, the parties intend to meet and confer in the next two weeks

regarding the remaining issues between the parties, the extent to which any matters can be

resolved, and a proposed briefing schedule. The parties propose filing their next status report on

May 17, 2024, to provide the Court with a proposed schedule for summary judgment briefing.

Dated: April 17, 2024

Washington, DC                               Respectfully submitted,

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                                             D.C. Bar No. #481052
                                             United States Attorney

                                             BRIAN P. HUDAK
                                             Chief, Civil Division

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